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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                              No. 4:05CR00259-05 JLH

HENRY JONES                                                                 DEFENDANT


                                         ORDER

      Pursuant to the Opinion filed under seal today, the pro se motion for modification or

reduction of sentence filed by Henry Jones is DENIED. Document #203.

      IT IS SO ORDERED this 14th day of March, 2008.




                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
